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                         UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

_____________________________________________________________________________________
IN RE:                               :
                                     :   CASE NO. 19-10350-elf
       Franklin Albert Bennett, III :
               Debtor                :   CHAPTER 13

_____________________________________________________________________________________


                                ENTRY OF APPEARANCE



        Kindly enter my appearance as attorney for Debtor, Franklin Albert Bennett, III in all matters for
the duration of this bankruptcy case.


                                Erik B. Jensen, Esquire
                                Jensen Bagnato, P.C.
                                1500 Walnut Street, Suite 1920
                                Philadelphia, PA 19102




                                                         /s/ Erik B. Jensen_________
                                                         Erik B. Jensen, Esquire
                                                         Jensen Bagnato, P.C.
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